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 5
     Attorney for Defendant, TIMOTHY NEW
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 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                        No. 1:14-CR-00101 – AWI BAM
12
                                 Plaintiff,           STIPULATATION TO MODIFY
13                                                    CONDITIONS OF RELEASE AND ORDER
            v.                                        THEREON
14
     TIMOTHY NEW, et al.
15
                               Defendants.
16

17

18                                            STIPULATION
19          It is hereby stipulated by and between the parties hereto that additional conditions of
20   release item (7)(t) of the Order of Release dated July 3, 2014, and as modified on April 15, 2015,
21   be modified to delete the home monitoring condition with all other conditions not in conflict to
22   remain in full force and effect.
23          The parties stipulate and agree that the Addition of Conditions of Release item (7) (t) of
24   the July 3, 2014 Order and as modified on April 14, 2015, be modified to read as follows:
25           (t) Curfew. You are restricted to your residence during curfew hours of 9:00 p.m.
     through 6:00 a.m. except for employment; education; religious services; medical; substance
26   abuse; or mental health treatment; attorney visits; court appearances; court-ordered obligations; or
     other activities pre approved by the PSO;
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                                                      1
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 1   ALL PREVIOUSLY ORDERED CONDITIONS OF RELEASE NOT IN CONFLICT TO
     REMAIN IN FULL FORCE AND EFFECT.
 2

 3          Good cause exists for this modification because the defendant has been on conditions of

 4   release since July 2014 during which time his supervising pretrial service officer has described

 5   his performance as excellent; the defendant now maintains two jobs, one full time and one part;

 6   he also assists his church on Sundays with three services; he also assists his ailing grandmother at

 7   least once a week and assists his wife who is now pregnant with home responsibilities; and his

 8   pretrial supervisor is also requesting this modification.

 9          IT IS SO STIPULATED.

10
                                                           FLETCHER & FOGDERUDE, INC.
11
                                                           /s/ Eric K. Fogderude
12   Dated: November 20, 2015                              __________________________________
                                                           Eric K. Fogderude,
13                                                         Attorney for Defendant, TIMOTHY NEW

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15                                                         UNITED STATES ATTORNEY

16   Date: November 20, 2015                               /s/ Karen Escobar
                                                           __________________________________
17                                                         Karen Escobar
                                                           Assistant United States Attorney
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     Case 1:14-cr-00101-DAD-BAM Document 158 Filed 11/23/15 Page 3 of 3


 1                                                ORDER

 2          IT IS SO ORDERED that the release Order dated July 3, 2014 and modified on April 14,

 3   2015, be modified as to Additional Conditions of Release item (7)(t) to read as follows:

 4
             (t) Curfew. You are restricted to your residence during curfew hours of 9:00 p.m.
 5   through 6:00 a.m. except for employment; education; religious services; medical; substance
     abuse; or mental health treatment; attorney visits; court appearances; court-ordered obligations; or
 6   other activities pre approved by the PSO;
 7   ALL PREVIOUSLY ORDERED CONDITIONS OF RELEASE NOT IN CONFLICT TO
     REMAIN IN FULL FORCE AND EFFECT.
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 9   IT IS SO ORDERED.
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        Dated:     November 20, 2015                          /s/ Barbara A. McAuliffe              _
11                                                     UNITED STATES MAGISTRATE JUDGE
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